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 5
     Attorney for Defendant
 6   ELODIO MORFIN-SOTO
 7

 8                           UNITED STATES DISTRICT COURT
 9                          EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,               No. 2:14-CR-00276-JAM
12
                    Plaintiff,               STIPULATION AND ORDER TO
13                                           CONTINUE STATUS CONFERENCE, AND
           v.                                TO EXCLUDE TIME PURSUANT TO THE
14                                           SPEEDY TRIAL ACT
     GABRIEL SILVA-SOTO, et al.,
15
                    Defendants.
16

17         IT IS HEREBY STIPULATED by and between the parties hereto

18   through their respective counsel, Samuel Wong, Assistant United

19   States     Attorney,    attorney    for      plaintiff;     Timothy   Zindel,
20   Assistant Federal Defender, attorney for defendant Yasmin Rico;
21
     Kyle Knapp, attorney for defendant Elpidio Pedrizco-Mata; Dina
22
     Santos, attorney for defendant Rigoberto Ibanez-Rojas; Clemente
23
     Jimenez, attorney for defendant Victor Vasquez-Heras; Michael
24
     Hansen,    attorney     for   defendant     Elodio   Morfin-Soto;     Michael
25

26   Long, attorney for defendant Pedro Rojas-Garcia; Richard Bobus,

27   attorney     for   defendant     Juan       Lira-Dejesus;    Mark     Reichel,
28
                                             1
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 1   attorney for defendant Apolinar Bautista-Ruiz; Olaf Hedberg,
 2   attorney   for    defendant       Marcial      Abraham-Montalvo;      Christopher
 3
     Cosca, attorney for defendant Porfirio Vasquez-Heraz; Kristy
 4
     Kellogg,   attorney       for    defendant      Maurilio   Vasquez-Heraz;       and
 5
     John Manning, attorney for defendant Jessica Juarez, that the
 6
     previously-scheduled           status   conference    date    of    February    10,
 7

 8   2015, be vacated and the matter set for status conference on

 9   May 5, 2015, at 9:15 a.m.

10         1.   The parties agree and stipulate, and request the Court
11   find the following:
12
                 a.     This case involves thirteen co-defendants.                   The
13
           United     States    has    produced      approximately      14,000    pages,
14
           which has been distributed amongst defense counsel.                        The
15

16         Superseding       Indictment      alleges    that    the     crimes   alleged

17         occurred     in     at    least   four    counties     and    two     judicial

18         districts.        Based on these facts, the case is unusual and
19         complex within the          meaning of 18 U.S.C. § 3161(h)(7)(A)
20
           and (B)(ii) and Local Code T-2 and it is unreasonable to
21
           expect adequate preparation for pretrial proceedings and
22
           trial itself within the time limits established in the
23
           Speedy Trial Act, 18 U.S.C. § 3161.
24

25               b.     Counsel for the defendants need additional time

26         to   review       the     discovery,      conduct    investigation,       and

27         interview potential witnesses.
28
                                               2
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 1                   c.     Counsel for the defendants believe the failure
 2           to grant a continuance in this case would deny defense
 3
             counsel        reasonable           time      necessary              for      effective
 4
             preparation,         taking     into       account      the     exercise        of    due
 5
             diligence.
 6
                     d.     The     Government           does        not     object         to     the
 7

 8           continuance.

 9                   e.     Based    on    the    above-stated         facts,        the    ends    of

10           justice to be served by granting the requested continuance
11           outweigh       the     best    interests           of    the        public    and     the
12
             defendants in a speedy trial and the time from the date of
13
             the     parties'       stipulation,          February          9,    2015,     to     and
14
             including the new status conference date of May 5, 2015,
15

16           shall be excluded from computation of time within which

17           the trial of this case must be commenced under the Speedy

18           Trial    Act,    pursuant       to     18    U.S.C.       §    3161(h)(7)(A)          and
19           (B)(ii) and (iv), and Local Codes T2 (unusual and complex
20
             case)    and    T4     (reasonable          time    for       defense      counsel     to
21
             prepare).
22
             2.    Additionally,           Mr.   Hansen     will       be    out     of    state    on
23
     another matter (US v. Samuel Flek, USDC, S.D. Ohio, Case No.
24

25   2:14-CR-00207-MHW) and a continuance of the status conference

26   is needed to ensure continuity of counsel for defendant Morfin-

27   Soto.
28
                                                    3
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 1         3.     Nothing in this stipulation and order shall preclude
 2   a finding that other provisions of the Speedy Trial Act dictate
 3
     that additional time periods are excludable from the period
 4
     within which a trial must commence.
 5
           Accordingly, the parties respectfully request the Court
 6
     adopt this proposed stipulation in its entirety as part of its
 7

 8   Order.

 9         IT IS SO STIPULATED.

10   Dated:     February 9, 2015               Respectfully submitted,
11                                             /s/ Michael E. Hansen
                                               MICHAEL E. HANSEN
12                                             Attorney for Defendant
                                               ELODIO MORFIN-SOTO
13
     Dated:     February 9, 2015               HEATHER E. WILLIAMS
14                                             Federal Defender

15                                             By: /s/ Michael E. Hansen for
                                               TIMOTHY ZINDEL
                                               Attorney for Defendant
16                                             YASMIN RICO
17   Dated:     February 9, 2015               /s/ Michael E. Hansen for
                                               KYLE KNAPP
18                                             Attorney for Defendant
                                               ELPIDIO PEDRIZCO-MATA
19
     Dated:     February 9, 2015               /s/ Michael E. Hansen for
20                                             DINA SANTOS
                                               Attorney for Defendant
21                                             RIGOBERTO IBANEZ-ROJAS

22   Dated:     February 9, 2015               /s/ Michael E. Hansen for
                                               CLEMENTE JIMENEZ
23                                             Attorney for Defendant
                                               VICTOR VASQUEZ-HERAS
24   Dated:     February 9, 2015               /s/ Michael E. Hansen for
                                               MICHAEL LONG
25                                             Attorney for Defendant
                                               PEDRO ROJAS-GARCIA
26
     Dated:     February 9, 2015               /s/ Michael E. Hansen for
27                                             RICHARD BOBUS
                                               Attorney for Defendant
28                                             JUAN LIRA-DEJESUS
                                           4
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 1   Dated:        February 9, 2015                 /s/ Michael E. Hansen for
                                                    MARK REICHEL
 2                                                  Attorney for Defendant
                                                    APOLINAR BAUTISTA-RUIZ
 3
     Dated:        February 9, 2015                 /s/ Michael E. Hansen for
 4                                                  OLAF HEDBERG
                                                    Attorney for Defendant
 5                                                  MARCIAL ABRAHAM-MONTALVO
     Dated:        February 9, 2015                 /s/ Michael E. Hansen for
 6                                                  CHRISTOPHER COSCA
                                                    Attorney for Defendant
 7                                                  PORFIRIO VASQUEZ-HERAZ
 8   Dated:        February 9, 2015                 /s/ Michael E. Hansen for
                                                    KRISTY KELLOGG
 9                                                  Attorney for Defendant
                                                    MAURILIO VASQUEZ-HERAZ
10
     Dated:        February 9, 2015                 /s/ Michael E. Hansen for
11                                                  JOHN MANNING
                                                    Attorney for Defendant
12                                                  JESSICA JUAREZ

13   Dated:        February 6, 2015                 BENJAMIN B. WAGNER
                                                    United States Attorney
14                                                  By: /s/ Michael E. Hansen for
                                                    SAMUEL WONG
15                                                  Assistant U.S. Attorney
                                                    Attorney for Plaintiff
16

17                                          ORDER
18           The    Court,    having    received,     read,    and    considered     the
19
     stipulation of the parties, and good cause appearing therefrom,
20
     adopts the stipulation of the parties in its entirety as its
21
     order.         Based    on   the   stipulation    of     the    parties   and   the
22

23   recitation of facts contained therein, the Court finds that it

24   is    unreasonable      to   expect   adequate    preparation       for   pretrial

25   proceedings and trial itself within the time limits established
26   in 18 U.S.C. Section 3161.            In addition, the Court specifically
27
     finds that the failure to grant a continuance in this case
28
                                              5
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 1   would deny all defense counsel reasonable time necessary for
 2   effective preparation, taking into account the exercise of due
 3
     diligence, and continuity of counsel for defendant Morfin-Soto.
 4
     The   Court    finds    that    the     ends   of   justice   to    be   served    by
 5
     granting the requested continuance outweigh the best interests
 6
     of the public and the defendants in a speedy trial.
 7

 8         The     Court    orders    that    the   time   from    the   date   of     the

 9   parties’ stipulation, February 9, 2015, to and including May 5,

10   2015, shall be excluded from computation of time within which
11   the trial of this case must be commenced under the Speedy Trial
12
     Act, pursuant to 18 U.S.C. Section 3161(h)(7)(A) and (B) (ii)
13
     and (iv), and Local Codes T2 (unusual and complex case) and T4
14
     (reasonable time for defense counsel to prepare and continuity
15

16   of defense counsel).            It is further ordered that the February

17   12, 2015, status conference shall be continued until May 5,

18   2015, at 9:00 a.m.
19         IT IS SO ORDERED.
20   Dated: 2/9/2015
          _________________________/s/ John A. Mendez_________________
21                                 JOHN A. MENDEZ
                                   United States District Court Judge
22

23

24

25

26

27

28
                                                6
     STIPULATION AND [PROPOSED] ORDER TO CONTINUE STATUS CONFERENCE
